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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------x
CONSUMER FINANCIAL,           :              17-CV-890 (LAP)
PROTECTION BUREAU, et al.,    :
                              :
               Plaintiffs,    :
                              :                    Order
          v.                  :
                              :
RD LEGAL FUNDING, LLC, et al.,:
                              :
               Defendants.    :
------------------------------x

Loretta A. Preska, Senior United States District Judge:

    Counsel shall confer and inform the Court by letter no

later than February 18, 2021 how they propose to proceed.

    SO ORDERED.

Dated:       New York, New York
             February 10, 2021

                               __________________________________
                               LORETTA A. PRESKA
                               Senior United States District Judge




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